      Case 8-15-75499-reg               Doc 197     Filed 03/30/18     Entered 03/30/18 15:50:37




Rosen, Kantrow & Dillon, PLLC
Attorneys for Allan B. Mendelsohn, Trustee
38 New Street
Huntington, New York 11743
631 423 8527
Fred S. Kantrow
UNITED STATES BANKRUPTCY COURT                                       RETRUN DATE:4/30/18
EASTERN DISTRICT OF NEW YORK                                         TIME: 9:30 a.m.
------------------------------------------------------------x
In re:
                                                                     Case No.: 15-75499-reg
QUEST VENTURES, LTD.,                                                Chapter 7

                                    Debtor.
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 NOTICE OF TRUSTEE’S APPLICATION SEEKING ENTRY OF AN ORDER UNDER
        SECTIONS 363(a), 363(b), 363(f) and 363(m) OF THE BANKRUPTCY
       CODE AND RULES 2002, 6004 AND 9004 OF THE FEDERAL RULES OF
       BANKRUPTCY PROCEDURE: (1) AUTHORIZING TRUSTEE TO SELL
   TO IPA ASSET MANAGEMENT IV, LLC OR ITS DESIGNEE (the “STALKING
     HORSE”), OR THE HIGHEST AND BEST BIDDER AT AN AUCTION SALE
    ESTATE’S INTEREST IN THE REAL PROPERTY COMMONLY KNOWN AS
         3581 MIDDLE COUNTRY ROAD, CALVERTON, NEW YORK AND
          3605 MIDDLE COUNTTRY ROAD, CALVERTON, NEW YORK;
  (2) SCHEDULING A HEARING TO APPROVE SUCH SALE TO THE STALKING
    HORSE OR THE HIGHEST AND BEST BIDDER; (3) APPROVING CERTAIN
 BIDDING PROCEDURES; AND (4) APPROVING THE MANNER AND EXTENT OF
                   NOTICE OF SUCH AUCTION HEARING

         PLEASE TAKE NOTICE that Allan B. Mendelsohn, trustee (the “Trustee”) of the

estate of Quest Ventures, Ltd. the debtor (the “Debtor”), by and through his counsel, Rosen,

Kantrow & Dillon, PLLC, shall move before the Hon. Robert E. Grossman, United States

Bankruptcy Judge, on APRIL 30, 2018 at 9:30 a.m. or as soon thereafter as counsel may be

heard, for the entry of an Order: (1) authorizing the Trustee to sell to IPA Management IV, LLC,

or its designee (the “Stalking Horse”) or to the highest and best bidder at an auction sale, the

estate’s interest in the real property commonly known as 3581 Middle Country Road, Calverton,

New York (the “Undisputed Property”) and/or the real property commonly known as 3605

Middle Country Road, Calverton, New York (the “Disputed Property”); (2) scheduling a hearing
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to approve such sale to the Stalking Horse or the highest and best bidder; (3) approving certain

bidding procedures; and (4) approving the manner and extent of notice of such auction hearing,

at the United States Bankruptcy Court, 290 Federal Plaza, Central Islip, New York 11722 in

Courtroom 860.

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the

Application must conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of

the Bankruptcy Court, as modified by any administrative orders entered in this case, and be filed

with the Bankruptcy Court electronically in accordance with any Administrative Order of the

Court, by registered users of the Bankruptcy Court’s case filing system and, by all other parties

in interest, on a 3.5 inch disk, preferably in Portable Document Format (PDF), WordPerfect,

Microsoft Word, DOS text (ASCII) or a scanned image of the filing, with a hard copy delivered

directly to Chambers, and be served in accordance with any Administrative Order of the Court,

and upon: (i) Rosen, Kantrow & Dillon, PLLC, 38 New Street, Huntington, New York 11743;

and (ii) the Office of the United States Trustee, 560 Federal Plaza, Central Islip, New York

11722; so as to be received by no later than 4:00 p.m. on April 23, 2018.

       PLEASE TAKE FURTHER NOTICE that only timely objections may be considered

by the Court.

Dated: Huntington, New York
       March 30, 2018
                                             Rosen, Kantrow & Dillon, PLLC
                                             Attorneys for Allan B. Mendelsohn

                                      BY:    S/Fred S. Kantrow
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